
COHEN, J.,
concurring specially.
I agree that reversal is mandated. No one reading this opinion, including the trial judge, will be surprised by the result. I do not write to condone the action of the trial judge, only to provide context.
Appellant’s lawyer, both below and on appeal, is F. Wesley “Bucky” Blankner. Mr. Habeych entered into a negotiated plea on March 17, 2009. Sentencing was scheduled for June 10, 2009. While we have no transcript of that proceeding, we know Mr. Blankner did not appear. Instead he sent an associate, who requested, ore tenus, a continuance of the sentencing. That motion was granted and sentencing postponed until August 18, 2009, at 9:00 a.m. The day before the scheduled sentencing, Mr. Blankner filed a notice of conflict, indicating he would be starting jury selection in a murder case and would be unable to attend. The trial judge, apparently frustrated at the prospect of another delay in sentencing and recognizing the expense to the citizens of Orange County in keeping Mr. Habeych incarcerated locally, called the judge listed in the notice of conflict and learned that jury selection was not scheduled to begin until 9:30 a.m. A call was then placed to Mr. Blankner’s office informing him that he would be expected to appear at the scheduled sentencing in Mr. Habeych’s case. When Mr. Blankner failed to appear, the trial court proceeded with sentencing.3
*374The trial judge in this case, no doubt, had other such experiences with Mr. Blankner and had simply had enough. In his own words, he refused to be held hostage by Mr. Blankner. His error was taking out his frustration on Mr. Habeych, rather than his lawyer.

. It is clear the trial judge expected a motion to set aside Mr. Habeych’s sentence. The judge stated, "I'm going to sentence him to the Department of Corrections and let him go ahead and file a motion to set it aside if he wants to.” Instead, this appeal was taken.

